                    Case 3:19-mj-08737-LS Document 1 Filed 10/03/19 Page 1 of 5


AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Western District of Texas                        2iflg (1C
                                                                                                                             A/i/O:
                  United States of Ameca                               )                                                                 /
                                v.                                     )
                            YAN,Yulin

                           LIU,Yongxiang                               )      EP19M -08737
                 _______________________________________________       )
                            Defendant(s)


                                                     CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best      of my knowledge and belief.
On or about the date(s) of                       October 1, 2019              in the county of           El Paso                in the
      Western          District of                Texas              the defendant(s) violated:

             Code Section                                                        Offense Description
8 Usc i 324(a)(1 )(A)(v)(l), (a)(1 )(A)             Defendant(s) conspire to knowingly and in reckless disregard of the fact that
(ii) and (a)(1 )(B)(i) conspiracy to                an alien has come to, entered, or remained in the United States in violation of
Transport Aliens for Finacnial Gain,                law, did transport, move, and attempt to transport and move such an alien
                                                    within the LinitedStates in furtherance of said violation of law, for the purpose
                                                    of commercial advantage or private financial gain.




          This criminal complaint is based on these facts:
 Ifurther state that am a Homeland Security Investigations Special Agent and this complaint is based on the facts
                       I


 stated within the attached affidavit:




              Continued on the attached sheet.


                                                                                                              's signature

                                                                                                              Special Agent
                                                                                                  Printed name and title

 Sworn to before me and signed in my presence.


 Date:             10/03/2019
                                                                                                    Judge 's signature

 City and state:                           El   Paso, Texas                            Leon Schydlower, U.S. Magistrate Judge
                                                                                                  Printed name and title

                                                              Oath TbIphonicHy         cm
                                                              AtJL;1I          ftj

                                                              FQdCr.'i (bX2)(A)
      Case 3:19-mj-08737-LS Document 1 Filed 10/03/19 Page 2 of 5




                                  AFFIDAVIT

On September 30, 2019, at approximately 1930 hours, a tan in color Toyota
Highlander bearing Chihuahua license plate ENN-9936 and a black 2019
Volkswagen SUV bearing Texas temporary license plate 50467Y6 were travelling
eastbound on a service road towards Sierra Blanca, Texas and in tandem.
Border Patrol Agent (BPA) Jose Pacheco was travelling on the service road and
witnessed the aforementioned vehicles pass his location. BPA Pacheco decided
to follow the vehicles and run checks on both the Chihuahua and the Texas
plates utilizing Big Bend Sector Radio. Previous events have identified that the
service road, also known as the "old road", is frequently used by Alien Smuggling
Organizations (ASO's) to circumvent the Sierra Blanca Border Patrol Immigration
Checkpoint while smuggling illegal aliens and/ or illegal narcotics. BPA Pacheco
requested assistance from the United States Border Patrol (USBP) checkpoint
via radio to assist with the two vehicles.

As BPA Pacheco approached the 2019 Volkswagen, he noticed the rear
passengers inside the vehicle attempting to hide by ducking. At that time, radio
advised BPA Pacheco records checks for the 2019 Volkswagen was registered
to YAN, Yulin out of Las Vegas, Nevada. At that moment, at approximately 1935
hours, BPA Pacheco activated his assigned Border Patrol Unit's emergency
lights to conduct a vehicle stop, for the purpose of an immigration inspection of
its passengers. The black Volkswagen came to a stop near mile marker 103, just
east of the USBP checkpoint, still on the service road. The tan Toyota Highlander
bearing Chihuahua plates was also stopped by BPA Ulises Gamez on the
service road.

BPA Pacheco approached the vehicle from the driver-side door, identified himself
as a United States Border Patrol Agent, and noticed the vehicle containeda total
of seven (7) occupants. BPA Pacheco questioned the driver, later identified as
YAN, Yulin as to his citizenship. YAN presented a valid Employment
Authorization Card (USCIS# 206-346-954). YAN then freely stated that "All the
other passengers were legal and had their documents at the hotel." As agent
Pacheco illuminated the rear passenger area, he noticed all the passengers
attempting to conceal themselves by laying down on each other. BPA Pacheco
asked YAN to lower the rear driver side window in order to determine the
citizenship of the other passengers. As YAN lowered the window, the five (5)
rear passengers sat up straight in their seats. BPA Pacheco questioned the five
(5) rear passengers and the front passenger individually as to their citizenship.
All six (6) passenger were looking forward and avoiding eye contact and failed to
reply to his request of declaring their citizenship. BPA Pacheco asked YAN if
any of the passengers spoke the English language and YAN replied "No". BPA
Pacheco asked YAN to ask the six (6) passengers if they had any legal
documents. YAN once again replied by saying that all six (6) passengers left their
documents in the hotel. Yan stated that they were all staying at the Motel 6 in El
Paso, Texas. BPA Pacheco asked YAN to ask the six (6) passengers if they had
      Case 3:19-mj-08737-LS Document 1 Filed 10/03/19 Page 3 of 5



any type of identification with them, to which he replied "No". BPA Pacheco then
requested for back up to determine the citizenship of the rest of the passengers.
At this time BPA Miguel A. Nevarez arrived on the scene to assist.

Agent Nevarez approached YAN and asked him how he knew the passengers of
the vehicle. YAN stated that he met them outside the place that he had been
staying at for the last two weeks. Agent Nevarez asked where he had been
staying. YAN said, "at the Studio 6 in El Paso, Texas". Agent Nevarez
questioned YAN as to where he lived. YAN stated he lived in California and was
in El Paso trying to open a restaurant. Agent Nevarez asked YAN where they
were going to. YAN said they were going to go see a friend then come back to El
 Paso. Agent Nevarez asked YAN if he had the address of where they were
going. YAN stated it was about 200 miles east and that they had been trying to
get the friend's address while driving.

Agent Nevarez asked YAN how he met the passengers of the vehicle. YAN
stated he had met them while he was outside the hotel he was residing at. YAN
stated they lived on the same street and he noticed they were speaking Chinese,
so he started a conversation with them. Agent Nevarez asked if the passengers
had any passports or immigration documents. YAN stated they had forgot them
at the hotel. Agent Nevarez asked why they would leave them at the hotel if they
didn't stay there. YAN laughed nervously and said, "I don't know". Agent
Nevarez then questioned YAN if the passengers came into the United States
legally or illegally. YAN stated that he did not know. Agent Nevarez told YAN that
he had been conversing with them and never asked how or what they were doing
in the United States.YAN laughed nervously and shrugged his shoulders. At this
time, Agent Nevarez advised YAN that since the passengers did not have any
form of identification, they were going to be transported to the checkpoint to
verify the status of everyone in the vehicle.

After questioning all the passengers, BPA Pacheco suspected that YAN was
possibly smuggling the other six (6) individuals further into the country. YAN and
all the passengers were transported to the Sierra Blanca Checkpoint to
determine their legal status in the country and for further investigation.

BPA Gamez made contact with the tan Toyota Highlander bearing Chihuahua
plates that had been travelling in tandem with the Volkswagen, for the purpose of
an immigration inspection of its passengers. BPA Gamez approached the vehicle
from the driver-side door, and identified himself as a United States Border Patrol
Agent. BPA Gamez questioned the driver as to his citizenship. The driver was
later identified as LIU, Yongxiang LIU presented a valid B1/B2 Border Crossing
Visa. BPA Gamez questioned LIU as to why he was taking the service road LIU
stated that he needed fuel and food. BPA Gamez questioned LIU if he was
traveling with the black Volkswagen that was following him to which he replied
"no". At the time, BPA Pacheco requested that LIU be detained and transported
       Case 3:19-mj-08737-LS Document 1 Filed 10/03/19 Page 4 of 5




to the Sierra Blanca Checkpoint for further investigation. LIU was detained due to
possibly being involved with YAN in an illegal alien smuggling scheme.

Homeland Security Investigations (HSI) Special Agents (SA's) Edgar Delgado
and Sergio Martinez were summoned to the Sierra Blanca checkpoint to assist
with the investigation. SA Delgado read YAN his Miranda Statement of Rights in
the English language which were then translated to the Mandarin language with
the assistance of a certified interpreter. YAN acknowledged he understood his
rights and agreed to provide a statement without the presence of an attorney.
YAN stated that he arrived at El Paso on 09/11/2019 for the purpose of
establishing a restaurant and in the meantime, had rented a hotel room at the
 Studio 6 located on Lomaland and Gateway West. YAN stated that a few days
 later, he met LIU, whom he knew as "Tony" at the time, at a Vietnamese
 restaurant for the first time. YAN stated that he had never made contact with LIU
 before but became acquainted with him as they both spoke Chinese. YAN stated
 that during this meeting, him and LIU exchanged phone numbers. YAN stated
 that several days later, LIU called him and offered him a job as a driver for
 people with Dallas as their destination. YAN stated that on September 29, 2019,
 LIU contacted him via telephone and asked him to rent hotel rooms. YAN stated
 that he rented a couple of rooms at the Motel 6, which is located directly across
 the street from the Studio 6 he was staying at. YAN stated that several Chinese
 people arrived later by themselves and occupied the rooms he had rented. YAN
 stated that LIU met him the following the day and paid him $500 in cash for the
  rooms he had rented and other expenses. YAN stated that LIU than advised him
 to transport the previously mentioned people in the afternoon to Dallas anEf that
  upon arrival he would be paid $7000. YAN described the people he was to
 transport as Chinese and stated that he believed they were illegally present in
  the United States based on his interaction with them. YAN stated that LIU
  advised him that he would guide him on his trip to Dallas, in his own vehicle, for
  approximately an hour and advised him not to exceed the posted speed limit.
  YAN stated that LIU assisted him in loading the people into YAN's vehicle before
  they commenced their trip to Dallas. YAN stated that he was following LIU when
  he was stopped by Border patrol near the checkpoint.


 SA Delgado read LIU his Miranda Statement of Rights in the English language
 which were then translated to the Cantonese language with the assistance of a
 certified interpreter. LIU stated that he was hired by "someone" to drive on the
 route he had been stopped by Border Patrol in. LIU was asked to elaborate on
 who "someone" was but replied that he would only give specific answers if
 agents promised him that his family would be protected. LIU stated that his family
 was, at the time, in China and feared that they would be in danger if he provided
 details about an illegal organization that operates in China and Mexico. LIU was
 advised that agents could not and would not make any promises reference the
 safety of his family. LIU became teary and blurted "I know its bad" and stated that
 he was regretful of what he had done. LIU continued to talk and stated that he
      Case 3:19-mj-08737-LS Document 1 Filed 10/03/19 Page 5 of 5




had been offered $8000 to drive from El Paso to Maria, Texas and back to El
Paso. LIU stated that he was instructed to drive and report any activity or
incidents he encountered along the route. LIU was asked to specify the activities
or incidents he was required to report but remained apprehensive in answering
the question. LIU was asked if he was guiding YAN around the checkpoint when
they had been stopped; LIU denied guiding any vehicles. LIU was shown a
picture ID of YAN and was asked if he knew him. LIU stated that he had seen
him at the Motel 6 in El Paso. LIU stated that he then believed that the "big
bosses" had instructed YAN to follow him without his knowledge. Throughout the
interview, LIU was evasive in answering all questions and continued to reference
the "big bosses" and the fear he had of them. LIU stated that the "big bosses"
had instructed him to not disclose any details refence their organization of their
operations.

This affidavit is being submitted for the limited purpose of establishing probable
cause for the arrest of YAN and LIU and does not set forth all my knowledge
about this matter.

This affidavit is based on my personal knowledge, as well as the basis of
information furnished to me by other law enforcement officers.
